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UNITED STATES DIS'I`RICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

Nlckole Sfeser, f civil Action No.:

Plaintift`,
v.

Continental Finanee Company, LLC; and

DOES 1-10, inclusive, : COMPLAINT

Defendants.

 

For this Complaint, the Plaintiff, Niekole Steger, by undersigned Counsei, states as

follows:

JURISDICTION

1. This action arises out of Defendants’ repeated violations of the Teiephone
Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

2. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the
Defendants transact business in this District and a substantial portion of the acts giving rise to
this action occurred in this District.

PAR'I`IES

3. The Plaintiff, Nickole Steger (“I’iaintiff"), is an adult individual residing in
Philadelphia, Pennsyivania and is a “person” as defined by 47 U.S.C. § 153(39).

4. The Defendant, Continental Finance Company, LLC (“Continental”), is a
Deiaware business entity with an address of IZI Continentai Drive, Suite 108, Newark,

Deiaware 19713, and is a “person” as defined by 47 U.S.C. § 153(39).

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5. Does 1~10 (the “Agents”) are individual collectors employed by Continental and
whose identities are currently unknown to the Plaintiff. One or more of the Agents may be
joined as parties once their identities are disclosed through discovery.

6. Continental at all times acted by and through one or more of the Agents.

FACTS

7. In or around April 2015, Continental started calling Plaintif`f’ s cellular telephone,
number 215»xxx-9274, in an attempt to collect a consumer debt allegedly owed by Plaintiff.

8. At ali times mentioned herein, Continental contacted Plaintiff` using an automated
telephone diaier system (“ATDS” or “predictive dialer") and/or by using an artificial or
prerecorded voice.

9. When Plaintiff` answered Continental’s calls, she heard a prerecorded message
instructing Plaintiff to hold for the next available representative

10. During a live conversation in April 2015, Plaintiff demanded that all calls to her
cellular telephone cease immediately

ll. Thereafter, despite having been directed to cease communications, Continental
continued placing automated calls to Plaintiff"s cellular telephone an at excessive and harassing
rate on a daily basis.

COUNT I
VIOLATIONS OF THE TCPA - 47 U.S.C. 8 227. ETSEO.

12. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

13. At all times mentioned herein and within the last four years, Det`endants called
Plaintiff on her ccliular telephone using an ATDS or predictive dialer and/or by using a

prerecorded or artificial voice.

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14. Defendants continued to place automated calls to Plaintiff" s cellular telephone
after being directed by Plaintift` to cease calling and knowing there was no consent to continue
the calls. As such, each call placed to Plaintiff was made in knowing and/or willful violation of
the TCPA, and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

15. The telephone number called by Def`endants was assigned to a cellular telephone
service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

16. The calls from Defendants to Plaintiff were not placed for “emergency purposes”
as defined by 47 U.S.C. § 227(b)(1)(A)(i).

17. Each of the aforementioned calls made by Det`endants constitutes a violation of
the TCPA.

18. As a result of each call made in negligent violation ot` the TCPA, Plaintift` is
entitled to an award of $500.00 in statutory damages for each call placed in violation of the
TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

19. As a result of each call made in knowing and/or willful violation of the TCPA,
l’laintiff is entitled to an award ot` treble damages in an amount up to $1,500.00 pursuant to 47
u.s.c. § 227(!))(3)(13) and 47 U.s.c. § 227(b)(3)(C).

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

A. Statutory damages of` $500.00 for each violation determined to be negligent

pursuant to 47 U.S.C. § 227(b)(3)(l3);

B. Treble damages for each violation determined to be willful and/or knowing
pursuant to 47 U.S.C. § 227(b)(3)(C);

C. Such other and further relief as may be just and proper.

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Dated: July 21, 2015

TRIAL BY .IURY DEMANDED ON ALL COUNTS

Respectt`ully submittcd,

By 451

Jody B. Burton, Esq.

BarNo.: 71681

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